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Exhibit 7

Consumer Notice Letter 06-27-2017 For Additional Debt Validation

And (RESPA) Qualified Written Request

NO. CV-16-08277-PCT-DLR

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Additional Request For Validation OF Debt

Michael Brosnahan Date: June 27, 2016
21 Hummingbird Circle
Sedona Az. 86336

To:

Att: Mary Ellis Senior Vice President
CALIBER HOME LOANS

P. O. Box 24610

Oklahoma City, OK 73124-0610

agents for:

LSF 9 MASTER PARTICIPATION TRUST
WESTERN PROGRESSIVE-ARIZONA INC

chen Loan Servicing.LLC

Bank of America, (Formerly Countrywide)

BAC Home beans Servicing LP

ReconTrust Company

Mortgage Electronic Registralion Systems Incorporated (MERS)

Deutsche Bank National Trust Company,

As Trustee for Bank of America, National Association

CHRISTIANA TRUST A DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as
Trustee of ARLP Trust 4 WILMINGTON TRUST, NATlONAL ASSOClATION, Not in its individual capacity but as Trustee of
ARLP Securitization Trust, Series 2014-2 (“Noteholder”)

To whom it may concern,

Re: Loan Number 7130832046 : NOT A VAILD DEBT

LEGAL AND CONSTRUCTIVE NOTICE:

You are participating in a process that is legally insufficient and VO[D on its face! There
are numerous statutory notice violations associated with your alleged Trustee’s Sale and
debt collection process against the alleged referenced loan.

CALIBER HOME LOANS and its agents is hereby required to create a single point of
contact for Michael Brosnahan to contact and review the accuracy of the documents submitted.
Please do not misfile or lose the same as the information contained is private in nature.

This letter further constitutes my Request for Michael J Brosnahan complete Loan File pursuant
to TELA, RESPA FDCA and Arizona Law.

Please consider this my response to your “NOTICE OF SALE OF OWNERSHIP 0F
MORTGAGE LOAN" letter dated May 31, 2016 and another letter dated June 03,2016 from
Mary Elis Senior Vice President CALIBER HOME LOANS that identified CALIBER HOME
LOANS was now the "Loan Servicer " and "Debt collector". These letters asking me to dispute
the validity of the debt within thirty days. I am currently acting in good faith so I may have quiet
and peaceful enjoyment of my home. I will attempt to be concise in my response as there are
many misrepresentations and violations to address in your letter.

CALIBER HOME LOANS and its agents are purposely obfuscated facts and avoided
important issues and determining factors in this matter thus causing undue delay in achieving a
just, speedy and inexpensive resolution to this matter. you have no legal right to initiate a
foreclose as it never truthfully identify themselves or third parties of interest or answers and
addressed my valid concerns stated in my previous correspondence CALIBER HOME
LOANS and its agents is seeking to illegally seize possession of Mr. Brosnahan’s horne and to
obtain a windfall by concealing the true parties to the fraud from an, alleged loan.

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This is an update to Michael J Brosnahan’s pursuant to the Consent Judgment entered
against you with the Consumer Financial Protection Bureau and the State of Arizona in The
United States District Courtfor the District of Columbia dated December 12, 2013. And, also the
Consent Judgment by and between J.P. Morgan Chase and the Consent Judgment in Nze United
States of Amerl`ca, et al v. Bank of America, et al,Action No. 12-036, filed on April 4, 2012 and
the United States Treasury’s “A 75 Billion Home Affordable Modification Program to prevent
Foreclosure and Help Responsible Families Stay in Their Homes” (“the Program”).

The Consent Judgment provides details of your financial obligations under the
Agreement which includes consumer relief funds in Which you are required to complete 75% of
your obligation within two (2) years and 100% within three (3) years.

In addition, Bank of America, (Formerly Countrywide) (the "investor" of the subject
loan) is the recipient of $45 Billion of bailout hinds under the Troubled Asset Relief Program
(TARP), and chen Loan Servicing, LLC ("chen") is the recipient of $1.84 Billion of TARP
funds, you are required to participate in the Program and its Guidelines, dated March 4, 2009.
Bank of America, (Formerly Countrywide) formalized their commitment to the Program through
a signed contract and are therefore required to participate

To the extent CALIBER HOME LOANS is responsible for the servicing this loan that chen
Loan Servicing, LLC ("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank
National Trust Company, As Trustee for Bank of America, National Association, CHRISTIANA
TRUST A DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its
individual capacity but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL
ASSOCIATION, Not in its individual capacity but as Trustee of ARLP Securitization Trust,
Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF9 MASTER
PARTICIPATION TRUST to which the Consumer Relief Requirements apply, Michael J
Brosnahan may be qualified for this type of relief. According to your application, any and all the
documents you have requested have been provided to you at this time.

Proof has been submitted of Qualification under the Program:

The home is owner occupied, single family;

The home is a primg residence;

The home is n_ot investor-owned;

The current monthly mortgage payment ratio is greater than 31%;

The lien loan has an unpaid principal balance is under the January 2010 loan limit;
The pre-modification LTV is greater than 100%;

.\’P\:‘>.“'°!°T"

Notice CALIBER HOME LOANS and its agents:

As a result of their mortgage activities, CALlBER HOME LOANS

and its agents, and each of them are and were Subject to and must comply with the F ederal Truth
in Lending Act (hereinafcer referred to as "TILA" [15 U.S.C. l601-l6666j] and the Acts
corresponding Regulation (hereinafter referred to as "Reg. Z" [24 C.F.R. 3500.1-3500.17]; the
Real Estate Settlement Procedures Act (hereinafter referred to as "RESPA") [12 U.S.C,2601 et
seql; Business and Professions Code [17200; Federal Trade Commission 5]; 24 Code of Federal
Regulations 3500.10; Unfair and Deceptive Business Practices and Acts {UDAP Statutes); The
violations of A.R.S. Title 44, especially §§1200 series, etc. Non-judicial foreclosures require the
purported power of sale clause to be a lawful agreement, which in this instant case was not.
CALIBER HOME LOANS and its agents are erroneously misusing l2 U.S.C. § 1821(d)(13)(D)
in an attempt to misplace the liability of their continued malicious, willful and unlawful attempt

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to Foreclosure as a debt collector and steal Mr. Brosnahan’s unique real property. Please provide
the name, address, and phone number of the true owner of this obligation pursuant to 15 U.S.C. §
1641(f)(2) and describe your relationship to this entity.

This has been recorded for the alleged loan for the home located at:
Re: Loan Number: # 137733623 APN No 401-54046 Min 1001337-0001411265-3 Foreclosure
Sale Number: TS #: 2009-53827

Property Address: 21 Hummingbird Circle, Sedona, Az. 86336-7012. Parcel Number: Lot 33 of
Chapel Bell Estate Unit 4, According To Case 2 Maps, Page 324, Records Of Coconino County,
Arizona, APN NO 401-54046, MIN 1001337-0001411265-3

Michael J Brosnahan is a civilian, hereby submits the following in reference to the purported debt
claimed by CALIBER HOME LOANS, chen Loan Servicing, LLC ("chen") Bank of
America, (Formerly Countrywide) now Deutsche Bank National Trust Company, As Trustee for
Bank of America, National Association, CHRISTIANA TRUST A DIVISION OF
WILM[NGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as Trustee
of ARLP Trust 4 WlLMINGTON TRUST, NATIONAL ASSCClATION, Not in its individual
capacity but as Trustee of ARLP Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN
PROGRESSIVE-ARIZONA INC, LSF9 MASTER PARTICIPATION TRUST: Loan Number:
# 137733623 APN NO 401-54046 MIN 1001337-0001411265-3 (alleged “Loan”) OCWEN Re:
Loan Number 7130832046. CALIBER HOME LOANS claims to be a debt collector and
therefore is subject to the Fair Debt Collection Practices Act.

However to the best of Mr. Michael J Brosnahan knowledge and beliefs he has acted in good faith
with the following companies: Countrywide, BAC Home Loans Servicing LP, Bank of America
OCWEN. Now CALIBER HOME LOANS who is now in the process of underwriting the alleged
loan “In House” with LSF9 MASTER PARTICIPATION TRUST being the alleged beneficiary.
It is a material fact that none of above entities has ever validated this debt before passing it to the
next company.

Mr. Brosnahan believes that the alleged debt has been knowingly passed and was never validated
from one company to the next in an attempt conceal material facts and evidence and that the debt
has been paid in full and that none of the above mentioned entities are the Creditor or Holder in
Due Course of the alleged note in question. CALIBER HOME LOANS must by law identify and
disclose “The Real Party of Interest on the Note” as the alleged “CREDITOR” and "HOLDER IN
DUE COURSE" .

SWORN DENIAL: Pursuant to the Constitution for the United States, the Uniform
Commercial Code (UCC) 3-601, 3-602, 3-603, 3-604, 3-605, the Fair Debt Collections
Practices Act (FDCPA) 15 U.S.C. §§ 1601, 1692 et seq and all other applicable law, Iherby
state that that the following :

1. I deny that the above referenced purported debt is my debt;

2. If the above referenced purported debt is my debt, l deny that it is a valid lawful
debt;

3. If the above referenced purported debt is a valid debt I deny the amount claimed,
or stated, or attempted to be collected is the correct amount.

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15 U.S.C. 8 1692@) STATES THAT a “false, deceptive, and misleading representation, in
connection with the collection of any debt”, includes the false representation of the character or
legal status of any debt and further makes a threat to take any action that cannot legally be taken a
deceptive practice. Account: ending in: Loan Number: # 137733623 APN NO 401 -54046 MIN
1001337-0001411265-3 (alleged “Loan”) CALIBER HOME LOANS, chen Loan Servicing,
LLC ("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank National Trust
Company, As Trustee for Bank of America, National Association, CHRISTIANA TRUST A
DIVISION OF WILMINGTON SAVINGS FUND SOClETY, FSB, Not in its individual capacity
but as Trustee of ARLP Trust 4 WILM[NGTON TRUST, NATIONAL ASSOCIATION, Not in
its individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF 9 MASTER
PARTICIPATION TRUST, Claims omit information which should have been disclosed, such as
but not limited to vital citations, disclosing the agency's jurisdictional and statutory authority.
Specifically you are hereby requested to produce:

1. Claims further contains, false deceptive and misleading representations, and
allegations intended to intentionally pervert the truth for the purpose of inducing
one, in reliance upon such, to part with property belonging to them and to
surrender certain substantive legal and statutory rights.

2. To act upon these claims would divest one from his property and his prerogative
rights, resulting in legal injury.

PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT. 15 U.S.C. §§ 1601,
1692 ET SEQ, this constitutes timely written notice that Michael J Brosnahan declines to pay the
referenced erroneous purported debt which is unsigned and unattested, and which Michael J
Brosnahan discharges and cancels in its entirety l hereby give effective notice and cancel the
transaction indicated above without any further notice, without dishonor, until Bank Of America
Account: ending in: Bank Of America (FORMERLY Countrywide) Loan Number: # 137733623
APN NO 401-54046 MIN 1001337-0001411265-3 (alleged “Loan”), CALIBER HOME LOANS
Re: Loan Number 7130832046 CALIBER HOME LC)ANS, chen Loan Servicing, LLC
("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank National Trust
Company, As Trustee for Bank of America, National Association, CHRISTIANA TRUST A
DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity
but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in
its individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESS!VE-ARIZONA INC, LSF9 MASTER
PARTICIPATION TRUST:

l. Validates purported debt;
2. Validates that purported debt does not constitute fraud;
3. Produce the documentation and information demanded herein.

PURSUANT TO 15 U.S.C. § 1692 §G[ 141 VALIDATION OF DEBTS, this is lawful demand

that Debt Collector must provide lawful validation and supporting legal evidence to substantiate
Debt Collector, CALIBER HOME LOANS Re: Loan Number 7130832046 CALIBER HOME
LOANS, chen Loan Servicing, LLC ("chen") Bank of America, (Fonnerly Countrywide)
now Deutsche Bank National Trust Company, As Trustee for Bank of America, National

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Association, CHRISTIANA TRUST A DIVISION OF WILMINGTON SAVINGS FUND
SGCIETY, FSB, Not in its individual capacity but as Trustee of ARLP Trust 4 WILMINGTON
TRUST, NATIONAL ASSOCIATIGN, Not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC,
LSF 9 MASTER PARTICIPATION TRUST claims that:

1. The purported debt does not constitute fraud;

2. The purported debt does not constitute fraudulent misrepresentation;

3. The purported debt is lawfully owed by Michael J Brosnahan to BANK OF
AMERICA Account: Loan Number: # 137733623 APN NO 401-54046 MlN
1001337-0001411265-3 (alleged “Loan”) chen Re: Loan Number 7130832046.

PURSUANT TO FA[R DEBT COLLECTION ACT, 15 U.S.C. § 1692 §G) §8), as you are

merely an “agency”, or board, acting on someone else's behalf, I demand that CALIBER HOME
LOANS, chen Loan Servicing, LLC ("chen") Bank of America, (Formerly Countrywide)
now Deutsche Bank National Trust Company, As Trustee for Bank of America, National
Association, CH_RISTIANA TRUST A DIVISION OF WILMINGTON SAVINGS FUND
SOCIETY, FSB, Not in its individual capacity but as Trustee of ARLP Trust 4 WILMINGTON
TRUST, NATIONAL ASSOCIATION, Not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC,
LSF9 MASTER PARTICIPATION TRUST:

1. The name and all details ofthe genuine original “principal”;
2. The name and all details of the “holder in due course”;
3. The name and all details for whom you attempting to collect this alleged debt,

UNTIL ALL THE RE§ !UIREMENTS of the Fair Debt Collection Practices Act have been met
by chen Re: Loan Number 7130832046, CALIBER HOME LOANS, chen Loan Servicing,
LLC ("chen") Bank of America, (Formerly Counuywide) now Deutsche Bank National Trust
Company, As Trustee for Bank of America, National Association, CHRISTIANA TRUST A
DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity
but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in
its individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF9 MASTER
PARTICIPATION TRUST has no legal jurisdiction to continue any collection activity on the
purported debt that Michael J Brosnahan allegedly owes.This is not Michael J Brosnahan refusal
to pay a lawful debt, but I am hereby:

1. Disputing the validity of the alleged debt;
2. Disputing that purported debt does not constitute fraud;

Charles J. Horner, ACFEI, CREB Chief Examiner discovered and stated in his report the
following in regards to Mr. Brosnahan alleged loan:

“ARS 33-804. Appointrnent of successor trustee by beneficiary C. A notice of substitution of
trustee shall be recorded in the office of the county recorder of each county in which the trust
property or some part of the trust property is situated at the time of the substitution The

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beneficiary shall give written notice through registered or certified mail, with postage prepaid, to
the trustor.

Unauthorized Trustee - Page 2 of the Notice Of Trustee’s Sale (NT) discloses the date of
05/01/2009 as the date of the document and page 1 of the NT discloses the recording date of
05/05/2009 as recorded by Recon Trust Company, N.A. Paragraph (D) on page 2 of the Deed Of
Trust discloses Fidelity National Title as the Trustee. My search of the Coconino County public
records did not produce a Substitution Gf Trustee which, pursuant to ARS 33-804 above, must be
executed by the beneficiary and recorded to assign powers, duties, authority, and title granted and
delegated to the trustee named in the deed of trust. Therefore, the Notice of Trustee’s Sale was
recorded 05/05/2009 by Recon Trust Company, N.A. who was not the Trustee or authorized
agent and did not have the authority to commence foreclosure as the Trustee was still Fidelity
National Title.

Pursuant to page 2 paragraph (E) of the Deed Of Trust: Mortgage Electronic Registration
Systems Incorporated (MERS) is acting solely as nominee for Lender and Lender’s successors or
assigns and is the beneficiary under that security instrument In that capacity, MERS initiated the
foreclosure process by executing and recording certain instruments which sets in place the entities
that carry out the process of foreclosure. However, there are many judicial opinions in several
different states that MERS does not have the capacity as only a nominee to execute the process of
foreclosure or to assign security instruments from one beneficiary to the other.

In a foreclosure situation whereby MERS is the claimed beneficiary and the true beneficiary
obtains the Trustee’s Deed affecting a credit sale back to the lender, MERS schemes to avoid the
transfer tax of the transaction. Furthermore, in non-judicial states, MERS admits to merely
holding title as nominee for the true beneficiary. Here is an excerpt from their own web site.
“Normally, where the name of the grantee under the Trustee ’s Deed Upon Sale is di]j‘erent than
the name of the foreclosing entity, the Trustee ’s Deed Upon Sale states that the ”Grantee was not
the foreclosing beneficiary " T his designation triggers the imposition of transfer taxes on the sale.
It is important to note that in a IWERS foreclosure sale, even where the property reverts, the name
of the grantee will be dijjerent than the name of the entity foreclosing Nonetheless, the Trustee ’s
Deed Upon Sale should state that "T he Grantee was the foreclosing beneficiary. " T his is because
WRS merely holds title as nominee for the true beneficiary it is the true benefich that has

actually foreclosed and acquired title ”. By this admission, MERS has stated that they are not,

and was not, the true beneficiary thereby nullifying the nomination pursuant to the Deed Of Trust.
Countg_vyide Bank gLender!

Violations:

(A) 5000 - FDIC Statements of Policy - "When an institution offers nontraditional mortgage
loan products, underwriting standards should address the effect of a substantial payment increase
on the borrower's capacity to repay when loan amortization begins." "Ensure that loan terms and
underwriting standards are consistent with prudent lending practices, including consideration of a
borrower's repayment capacity;" "For all nontraditional mortgage loan products, an institution's
analysis of a borrower's repayment capacity should include an evaluation of their ability to repay
the debt by final maturity at the fully indexed rate, 5 assuming a fully amortizing repayment
schedule"

Imprudent Underwriting, Housing Expenses - The 1003 loan application discloses the
borrower was paying $1,327.00 in monthly housing and will be paying $3,419.03 which
represents approximately 258% increase in housing costs. The increase in housing costs is a
disaster waiting to happen and demonstrates the lender’s lack of due diligence in the underwriting
process. Displacing prudence with profit and duty of care are ingredients which define predatory
lending.

(B) Uniform Settlement Statement 24 CFR §3500.8 The HUD-l and HUD-lA must be
completed by the person (settlement agent) conducting the closing and must conspicuously
and clearly itemize all charges related to the transaction.

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Failure to Provide Disclosure - I have noted that the borrower was not provided with a Final
HUD 1 Settlement Statement pursuant to paragraph B above.

(Cl) 12 C.F.R. 226.23(a) (3). Failure to make clear, conspicuous, and accurate material
disclosures also triggers an extended right of rescission. Material disclosures include the: (1)
annual percentage rate, (2) finance charge, (3) amount financed, (4) total payments, (5) or
payment schedule.

(C2) Truth In Lending Act (15 USC 1601 et seq.). The purpose of TILA is to promote the
informed use of consumer credit by requiring disclosures about its terms, cost to standardize the
manner in which costs associated with borrowing are calculated and disclosed. TILA requires
uniform or standardized disclosure of costs and charges so that consumers can shop and compare.
Misleading or misrepresentation of those charges voids the consumer's ability to shop for
comparable loan products that may be available through other lenders. The regulation prohibits
certain acts or practices in connection with credit secured by a consumer's principal dwelling.
Understated Amount Financed - I have compared the Finance Charges used to calculate the
APR in the Final Truth In Lending Statement with the Estimated Settlement Statement and have
determined that the Amount Financed on exhibit 2 when deducted from the loan amount of
$373,500.00 reveals $4,673.54 as the amount of finance charges used to calculate the Amount
Financed. When recalculating the finance charges as disclosed on exhibit 3, the resulting total is
$4,841.53. Pursuant to 6500 FDIC § 226.4 which states “The finance charge is the cost of
consumer credit as a dollar amount. It includes any charge payable directly or indirectly by the
consumer and imposed directly or indirectly by the creditor as an incident to or a condition of the
extension of credit.” It’s important to note that in a refinance loan, the lender engages third party
service providers as these services are required by the lender. Therefore, pursuant to § 226.4 (a)
(1) & (2), the cost of third party service providers such as escrow related costs, lender required
recording fees, notary fees, title endorsements etc. or any other services required by the lender are
considered a “Finance Charge” if the lender requires the use of that service. Because the lender
did not include these charges, the adjusted Amount Financed is $368,658.47. Therefore, the Final
Truth In Lending Statement understates the amount of Finance Charges by the amount of
$167.99.

Under Disclosure of Finance Charge - I have investigated the Finance Charge as disclosed on
the Final Truth In Lending Statement by running a 30 year amortization schedule and have noted
that the total of interest the lender will receive is $746,114.41. When added to the finances
charges of $4,841.53, the total Finance Charge is $750,955.94. Therefore, the Finance Charge is
under disclosed by an amount of $172.75.

Misleading Disclosure - The Final Truth-In-Lending (Exhibit 2) states “This loan has a
variable-rate feature. Variable rate disclosures have been provided to you earlier.” However, the
notice so referenced is the Adjustable Rate Program Disclosure and is dated the same date and
therefore, not “earlier.”

Incomprehensible Instrument - I have noted that the “Adjustable Rate Note” was
incomprehensible, filled with legalese and unintelligible language, all designed to confuse the
average purchaser. Indeed, an informed and experienced individual would have a difficult time
understanding the entire agreement

(D) FCRA 15 U.S.C. 1681 Section 212 Subsection 609(g) a lender must provide the following
to the consumer as soon as reasonably practicable: 1. The current credit score of the consumer
or the most recent credit score of the consumer that was previously calculated by the credit
reporting agency for a purpose related to the extension of credit; 2.The range of possible credit
scores under the model used; 3. All of the key factors that adversely affected the credit score of
the consumer in the model used, the total number of which shall not exceed four (4), unless a key
factor that adversely affects the consumer's credit score consists of the number of enquiries made
with respect to a consumer report. In this case, then five (5) key factors may be listed; 4. The date

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on which the credit score was created and; 5. The name of the person or entity that provided the
credit score or credit file upon which the credit score was created.

Failure To Disclose - Pursuant to this section the lender must provide the most recent credit
score the lender used to make an underwriting decision. l have noted that the lender did not
provide the credit scores on the document titled “Credit Score Disclosure.”

(E) 15 U.S.C. § 1681s-2] (A) 7 NOTICE TO CONSUMER REQUIRED- (i) IN GENERAL-
If any financial institution that extends credit and regularly and in the ordinary course of business
furnishes information to a consumer reporting agency described in section 603(p) furnishes
negative information to such an agency regarding credit extended to a customer, the financial
institution shall provide a notice of such furnishing of negative information, in writing, to the
customer.

Failure To Disclose - The lender has a one-time duty under this section of the FCRA to provide
a notice to the consumer that they have or will furnish negative information to a consumer
reporting agency. Typically, a lender will provide this notice along with the other disclosures at
the time of loan consummation I have concluded that no disclosure titled “Furnishing Of
Negative Information” was provided to the borrower at any time during the processing of this
loan. Thus, it is highly likely that if the lender has reported negatively information with the credit
repositories, they have done so in violation of this section.

(F) 15 USC, Subchapter I, Gramm-Leach-Bliley Act. Disclosure of Nonpublic Personal
Information Sec. 6803. Disclosure of institution privacy policy (a) Disclosure required. At the
time of establishing a customer relationship with a consumer and not less than annually during
the continuation of such relationship, a financial institution shall provide a clear and conspicuous
disclosure to such consumer, in writing or in electronic form or other form permitted by the
regulations prescribed under section 6804 of this title, of such financial institution's policies and
practices with respect to; (1) disclosing nonpublic personal information to affiliates and
nonaffiliated third parties, consistent with section 6802 of this title, including the categories of
information that may be disclosed;

Failure To Disclose - l have concluded that the borrower was not provided the "Privacy Pledge"
disclosure or the required "Privacy Choices" disclosure pursuant to the above subsections

(G) 24 CFR 3500.6(a). Requires certain disclosures such as but not limited to, Servicing
Transfer, Adjustable Rate Booklet, Right to Copy of Appraisal, Federal Equal Opportunity,
and various other exhibits to be provided to the borrower.

Failure To Disclose - My inventory of the documents that were provided to the borrower has
revealed that the required disclosures pursuant to this section were not provided to the borrower
at any time during the process of this loan.

(H) 6500 - FDIC Consumer Protection Paragraph 19 (b) (2) (viii). 2. Selection of index
values. The historical example must reflect the method by which index values are determined
under the program. If a creditor uses an average of index values or any other index formula, the
history given should reflect those values. The creditor should select one date or, when an average
of single values is used as an index, one period and should base the example on index values
measured as of that same date or period for each year shown in the history. A date or period at
any time during the year may be selected, but the same date or period must be used for each year
in the historical example. For example, a creditor could use values for the first business day in
July or for the first week ending in July for each of the 15 years shown in the example.

Failure To Disclose - Pursuant to this section, the lender must provide the borrower with
historical index values when the loan is an adjustable rate loan and adjustments are based on an
index. There is no existing evidence in the documents provided to me that this disclosure was
ever given to the borrower.”

Actual Notice: To Rescind; Request For Accounting; Notice Pursuant To R.E.S.P.A.:

l hereby give effective notice to rescind and cancel the transaction indicated above without any
further notice. Mr. Brosnahan has conducted a reasonable investigation and inquiry into this

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matter and concluded that Bank Of America (Formerly Countrywide), the originator of this
transaction, failed to provide all material disclosures correctly made as that term is deflned and
under 15 U.S.C. § 1635(a); Reg. Z §§ 226.23(a) in a form that I may keep. The notices were
inefi`ective, failed to provide the requisite number and have omitted dates. This transaction is
subject to the unconditional right to rescind within three days which has not yet begun to run due
to your failure to provide effective notice of my right to cancel. You should also be advised that
your willful failure to rescind the transaction on a timely basis knowing the material facts will be
used as evidence that you are complicit in the matter.

Willful and malicious harassment: Right to Cancel is my rescission letter. In Mr.
Brosnahan letter dated 2009: Michael J Brosnahan legally mailed first class effectively
rescinding under TILA the loan. CALIBER HOME LOANS and its agents are willfully and
maliciously attempting to collect a debt on an alleged Loan that was Rescind My Notice of
Right to Cancel is my rescission letter sent back in 2009. The subject mortgage and note did not
exist after the notice of rescission. That is the express terms of the law. Hence any action to
enforce or collect under the terms of the note or mortgage or deed of trust were void, ab initio.
Defendant's violation of the express provisions of the Federal Act. The only jurisdiction the any
court had was based upon the allegations based upon the presumption of the note and
mortgage The rescission removed the note and mortgage as valid instruments as of the date of
mailing the rescission. Hence unless one or more of the parties allege that they are the owner of
the debt and the end of the line in the "chain" (and then prove it) none of the existing parties
have standing to dispute the rescission which, as Justice Scalia said on behalf of a
unanimous US Supreme Court, was effective upon mailing regardless of whether it was
disputed or not. Defendants argument that even though the US Supreme Court says otherwise,
that the notice of rescission should be ignored and the sale should move forward. There is no
higher authority than the US Supreme Court.

In addition to the above irregularities, the Texas Secretary of State responded to Mr.
Brosnahan notary complaint case number: INPC 22531: by immediately Suspending
Christopher Williams Recon Trust employee and Notary, for not complying with Texas Law
Code & 406.014 and he failed in his duty as a notary on his log books specifically in regards to
the details of the Trustee Sale Document. Mr. Brosnahan also believes Recon Trust Company
breached their fiduciary obligation as the alleged Trustee and ignored due diligence to the Trustor
by not acting in a fair and unbiased manner to disclose to both parties when this material fact was
discovered by the Texas Secretary of State. l would like OCWEN and its agents to consider this
material fact that Texas Notary Public Christopher Williams ReconTrust employee’s criminal
acts were being committed using a government issued authority; and under color of state law to
deprive me of my constitutionally protected civil rights; and are the sole cause and relevant
factors that have allowed a Bank of America, (Formerly Countrywide) to commence an unlawful
foreclosure on Mr. Brosnahan unique real property.

Acting in Bad Faith, CALIBER HOME LOANS, and its agents chen Loan Servicing, LLC
("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank National Trust
Company, As Trustee for Bank of America, National Association, CHRISTlANA TRUST A
DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity
but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in
its individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERNPROGRESSIVE-ARIZONAINC,LSF9MASTER

PARTICIPATIONTRUSTand its agents sent homeowner "NOTICE OF TRUSTEE'S SALE
ARIZON " - Dated 05-01-2009 that was already proven to be a robo-signed False and forged
document. Texas notary was suspended for not compiling fully with the Texas Secretary of State

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Additional Request For Validation OF Debt

and is VOI]) and cannot by law be used to Validate this alleged debt or foreclose on real
property. CALIBER HOME LOANS and its agents WESTERN PROGRESSIVE-ARIZONA
INC, jointly or separately, by and through their ens legis ’, are using Criminal and Fraudulent
activities against Michael J Brosnahan’s real property and violating fiduciary responsibility to
all parties. CALIBER HOME LOANS and its agents have fabricated the facts attempting to
assign themselves alleged rights that they do not possess by clouding the Title. FRAUS
0MNLA VITIA TE (Fraud vitiates everything.)

Under what authority did on June 26, 2015 CALIBER HOME LOANS and its agents are
responsible for the servicing this loan from chen Loan Servicing, LLC ("chen") Bank of
America, (Forrnerly Countrywide) now Deutsche Bank National Trust Company, As Trustee for
Bank of America, National Association, CHRISTlANA TRUST A DIVISION GF
WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as Trustee
of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in its individual
capacity but as Trustee of ARLP Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN
PROGRESSIVE-ARIZONA [NC, LSF9 MASTER PARTICIPATION TRUST, Not in its
individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARlZONA INC, LSF9 MASTER
PARTICIPATION TRUST and its agents, jointly or separately, by and through their ens legis,
cause to have filed and recorded false and/or forged Fraudulent documents in the Coconino
County Recorder’s Office "SUBSTITUTION OF TRUSTEE" Dated: 05-21-2015 that clearly
breaks the chain of title see DEED OF TRUST paragraph 24 - "Substitute Trustee. Lender
may, for any reason or cause, from time to time remove Trustee and appoint a successor
trustee to any Trustee appointed hereunder. Without conveyance of the Property, the successor
trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by
Applicable Law. " In Arizona Law and contracts; that means ONLY “Lender” and NO ONE
ELSE may appoint a successor Trustee.

Qualified Written Request And Additional Request For Validation OF Debt

In addition, please treat this notice as a qualified written request as that term is defined pursuant
to 12 U.S.C. § 2605(e)(1)(B) and a request for accounting pursuant to the collateral instruments
associated with this transaction under Revised Article.

This request is not intended nor does it alter or diminish in any way any previous requests or
demands for validation of debt but is intended to and does supplement all previous requests and
or communications filed by and or sent by Michael Brosnahan associated with the above
referenced case (this matter) and the alleged account associated therewith.

As previously stated by Michael Brosnahan you are required to provide a full accounting of your
corporations / entity / organization / individuals etc. authority, capacity, and or standing to file
Foreclosure in this matter and in addition you are required to provide a full accounting and
validation and Verification of all claims made by CALIBER HOME LOANS is responsible for
the servicing this loan for chen Loan Servicing, LLC ("chen") Bank of America, (Formerly
Countrywide) now Deutsche Bank National Trust Company, As Trustee for Bank of America,
National Association, CHRISTlANA TRUST A DIVISION OF WILMINGTON SAVINGS
FUND SOCIETY, FSB, Not in its individual capacity but as Trustee of ARLP Trust 4
WILM[NGTON TRUST, NATIONAL ASSOCIATION, Not in its individual capacity but as
Trustee of ARLP Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN
PROGRESSIVE-ARIZONA INC, LSF9 MASTER PARTICIPATION TRUST, Not in its
individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF9 MASTER

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Additional Request For Validation OF Debt

PARTICIPATION TRUST in this matter as detailed in DEMAND for VALIDATION of DEBT
filed in this case by Michael Brosnahan

In addition to all previous requests / demands for validation of debt please provide the following
in a timely manner as required by law; (“CUSIP”: stands for Committee on Uniform Securities
Identification Procedures.)

1. The original LOAN APPLCATION with CUSIP numbers containing any and all the wet ink
signatures, endorsements, transfer, alterations, notations etc occurring over the entire
existence of the document associated with the alleged account in the above referenced case

2. The original MORTGAGE / DEED OF TRUST containing any and all the wet ink signatures,
endorsements, transfers, alterations, notations etc occurring over the entire existence of the
document associated with the alleged account in the above referenced case

3. The original NOTE containing any and all the wet ink signatures, endorsements, transfers,
alterations, notations etc occurring over the entire existence of the document associated with
the alleged account in the above referenced case

4. Any CUSIP numbers on or assigned to or associated with the LOAN APPLICATION
associated with the alleged account in the above referenced case

5. Any CUSIP numbers on or assigned to or associated with the MORTGAGE DEED OF
TRUST associated with the alleged account in the above referenced case

6. Any CUSIP numbers on or assigned to or associated with the NOTE associated with the
alleged account in the above referenced case with the allonge, front and back, affixed to my
Genuine Original Promissory Note with endorsements relating to and/or associated with this
transaction.

7. Any CUSIP numbers on or assigned to or associated with any and all lnsurance Policy funds
paid to this account with the names and dates of any and all companies who received these
funds.

8. If the of GENUINE ORIGINAL MORTGAGE / DEED OF TRUST and NOTE associated
with the alleged account in the above referenced case have been separated at any time in their
existence and do not currently reside in your physical possession in their original state as
required by law in order for you to claim an interest in the property in question and file suit in
this matter, please provide a full accounting and full documentation of the reasons and
circumstances surrounding the cause of the separation, a full listing of any entities,
organizations, corporations individuals etc. who have, or have had access to or possession of
GENUINE ORIGINAL MORTGAGE/ DEED OF TRUST and NOTE associated with the
alleged account in the above referenced case, and sworn affidavits signed under penalty of
perjury by any individuals/ persons etc. with first hand knowledge of said separation of the
of GENUINE ORIGINAL MORTGAGE/ DEED OF TRUST and NOTE including any
dates and circumstances causing the separation, and their title, position, and duties at the time
of separation l demand A certified copy of all letters, statements, documents, and material
disclosures sent to me by previous Servicers, Sub-Servicers or others in your file or in your

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Additional Request F or Validation OF Debt

control or possession or in the control or possession of any affiliate, parent company, agent,
Sub-Servicers, Servicers, attorney or other representative of your company;

9. I request/demand for inforrnation, a demand for the "Meta-Data" stamps that are part of "e-
discovery". A mete-data stamp is the electronic signature that will be evident on the
electronically transmitted Note and Deed from the lender to the warehouse lender, to the
depositor, to the REIT Trust, to the REMIC Trust. This is the electronic path that was
followed in nearly all securitizations. Also, the servicers' remittance ledgers are of crucial
importance The Deed/mortgage contains language which corroborates this payment as a
"miscellaneous proceed" paid by a voluntary third party.

10. Irequest/demand for information, a demand for the following documents:
All accounting ledger journal entries and/or bookkeeping entries regarding the crediting of any

and all Promissory Notes, money equivalents, or similar instruments, identified as or evidencing
assets provided by and/or signed by the alleged borrowers and consumers relating to this Account
An identification of the source of the funds used to fund the loan since its origination, including
account name(s), number(s), and amount(s);

(a) Form: S3 registration statement,

(b) Form: 424 (b) (5) prospectuses,

(c) Form: FR 2046 balance sheet(s),

(d) Form: FR 2049 balance sheet(s), Inc.

(e) Form: 2099 balance sheet(s),

(f) Genuine Original Title Page to the Deed of Trust

11. l request/demand for the information of any and all Pooling and Servicing Agreement (PSA)
and the terms of this loan are consistent with the agreement and Prospectus. A certified copy
of all Master Pooling and Service Agreements between the current Servicer CALIBER
HOME LOANS, and To review of the PSA, and determined if the Research Department Re:
Loan Number 7130832046 chen Loan Servicing, LLC ("chen") Bank of America,
(Formerly Countrywide) now Deutsche Bank National Trust Company, As Trustee for Bank
of America, National Association, CHRISTlANA TRUST A DIVISION OF WILMINGTON
SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as Trustee of ARLP
Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in its individual
capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF 9 MASTER
PARTICIPATION TRUST, Not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA
INC, LSF 9 MASTER PARTICIPATION TRUST would allegedly be the custodian of the
original security instruments such as the Note and Deed Of Trust. Through the process of
bank closure under 12 U.S.C. §1821, Bank of America purchase of Countrywide Bank would
now be the custodian of those instruments and is likely in possession of the original
documents Also requested is the SEC filings Countrywide Bank Mortgage Pass through
certificate series for the note in question is an issue here because that neither the PSA nor the
Purchase And Assumption Agreement, both of which must be presented so l may
methodically investigate, to ascertain that it specifically identifies this loan as being a part of
those actions and it is incumbent upon the beneficiary to produce evidence that it is.
CALIBER HOME LOANS chen Loan Servicing, LLC ("chen") Bank of America,
(Formerly Countrywide) now Deutsche Bank National Trust Company, As Trustee for Bank
of America, National Association, CHRISTlANA TRUST A DIVISION OF WILM]NGTON

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SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as Trustee of ARLP
Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in its individual
capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF9 MASTER
PARTICIPATION TRUST, Not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA
INC, LSF9 MASTER PARTlCIPATION TRUST may be just the servicer for investor:
CALIBER HOME LGANS must state who the current BENEFIClARY of the DEED OF
TRUST is. Identify all Certificate Holders that must own all rights, title and interest in each
and every loan in the pool directly and personally. The lack of such an assignment and
documentation makes it clear there is now a hole in the chain of title. There is nothing in the
history of the loan to indicate how or when the alleged Note that CALIBER HOME LOANS
claims it is servicing for is now with LSF9 MASTER PARTICIPATION TRUST, who
allegedly has possession of the Genuine Original Wet Ink Note and Title Page to the Deed of
Trust.

Notice: Please be aware that the information contained in or filed with a Registration
Statement as that term is defined under 15 USC § 77b(a)(8) shall be made available to the
public under 15 U.S.C. § 77f(d) including any amendment thereto and any report, document,
or memorandum filed as part of such statement or incorporated therein by reference.
Pursuant 17 CFR 240.12g5-1 provide the name of the “record holders” and/or the name of
“each person who is identified as the owner of such securities on records of security holders
maintained by or on behalf of the issuer.” A certified copy the Registration Statement as that
term is defined under 15 USC § 77b(a)(8), i.e.; Form 8-A (short form) and Form 10 (long
form) Registration Statements under the 1934 Act, Form S-l and S-3 Registration Statement
under the 1933 Act.

The Tax Equity and Fiscal Responsibility Act of 1982 (“TEFRA”) Pub. L. 97-248, 96 Stat.
324, a bearer debt security generally must be issued under arrangements reasonably designed
to ensure that such obligation will be sold only to a person who is not a United States person
and must satisfy certain other conditions identified in the Tax Code § 163(f)(2)(B), and as
such please provide:

a) The Identify of all parties with ownership interest who have met the
criteria as adopted by Treasury Regulation § 1.163-5(c)(i)(D) “TEFRA
D” and § 1.163-5(0)(i)(C) “TEFRA C”

b) Certified copies of all statements on a U.S. Form W-8 or substitute
thereto certifying the owner’s non-U.S. status where the obligations
issued in registered form are not subject to the TEFRA rules and
considered “portfolio interest.”

c) All information statements and returns filed with the IRS which
identifies the name and address of all recipients of interest and original
issue discount that meets the provisions of a U.S. obligor making
payments to a foreign person under the Tax Code §§ 871(a)(l), 881(a),
1441(a), l442(a) and § 6049

A Description whether the Special Purpose Vehicle or the originator is the “issuer” as that term
is defined under 15 USC § 80a-2(a)(22) for registration purposes under the Investrnent Company
Act of 1940;

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A description whether the pool or securities issued were required to register under the statutory
or statistical definition of the 1940 Act? i.e. pursuant 17 CFR 270.3a-7 and if exempt, describe
the characteristics that define the exception and avoids all requirements;

Notice: Nothing in the above requested documentation is proprietary under SEC rules, and
is needed to determine accurate assignee liability and any pecuniary interest of Servicers. F ailure
to provide the requested information confirms willful deceit on your part, has legal implications
and application under 17 CFR § 240. 10b-5 ; (Rule 10b-5), of the 1934 Act, and applies to
everyone, including any reference to lntemal Revenue Code evasion or money-laundering

(1) If we accept the proffer from CALIBER HOME LOANS, and its agents chen Loan
Servicing, LLC ("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank
National Trust Company, As Trustee for Bank of America, National Association, CHRISTlANA
TRUST A DIVISION OF WlLMlNGTON SAVINGS FUND SOCIETY, FSB, Not in its
individual capacity but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL
ASSOCIATION, Not in its individual capacity but as Trustee of ARLP Securitization Trust,
Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC, LSF 9 MASTER
PARTICIPATION TRUST and its agents that the transaction (i.e, the loan) was done for the
express purpose of fulfilling an obligation to investors for backing mortgage bonds through a
REMIC asset pool, then why was MERS necessary?

(2) Why wasn't the asset pool disclosed to the borrower?

(3) Why wasn't the asset pool made the payee on the promissory note at origination of the loan?
(4) Why wasn't the asset pool shown on a recorded assignment immediately after closing as the
new payee and secured party?

(5) What Was the business purpose of using MERS?

(6) Was the lender the source of funding on the loan or was it too just another nominee?

(7) Is there any identified real party in interest on the note and mortgage as the creditor?

(8) If there is no real party in interest on the note and mortgage, then how can the mortgage be
considered perfected when nobody has notice of who they can go to for a satisfaction or release
or rescission of the mortgage?

(9) ln which document and what provision are the parties at the loan "closing" empowered to
identify a party other than the source of funds as the payee and secured party?

(10) Who were the parties to the loan? -- (a) The borrower and the source of funds or (b) the
borrower and the holder of paper documenting a transaction that is incomplete (the payee and
secured party never fulfilled their obligation to fund the loan)?

(11) If CALIBER HOME LOANS, the servicer's scope of employment, authority or apparent
authority was limited to tracking the payments of the borrower only, and did not include
accounting for the creditor, then how does the servicer know what is contained in the creditor's
accounting records? Since the creditor in any loan subject to claims of securitization received a
bond whose indenture provided repayment terms different than those terms signed by the
borrower to another party entirely, how can any finding of money damages be determined by any
court without a full accounting for all transactions relating to the loan?

(12) What is the identity of the party who was injured by the refusal of the borrower to make any
further payments? To what extent were they injured? Are they qualified to submit a "credit bid"

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or must they pay cash for the property at auction? If they are not qualified to submit a credit bid
then under what legal theory should they be permitted to foreclose or for that matter seek any
collection? Are these intermediary parties violating the FDCPA because they are neither the
creditor nor the agent of the creditor and yet demanding payment for themselves?

NOTICE: CALIBER HOME LOANS and its agents as a servicer may not enforce a non-
owned, bifurcated Deed of Trust that may have been securitized and is no longer
enforceable by anyone party in a bogus foreclosure sale. Therefore, foreclosure is an
unwise option. Litigation will be costly and CALIBER HOME LOANS servicing position may
be declared void by the Court. Moreover, the Note and Deed of Trust most likely were not
properly endorsed or assigned, placed on the MERS system (most likely shredded in the process),
are not enforceable by the CALIBER HOME LOANS, and would not be enforceable by all of the
true investors that are merely certificate holders.

The new servicing standards make foreclosure a last resort. CALIBER HOME LOANS is
required to evaluate homeowners for other loss mitigation options first and are restricted from
foreclosing while the homeowner is being considered for a loan modification 'Ihe new standards
also include procedures and timelines for reviewing loan modification applications and give
homeowners the right to appeal denials.

Based upon the foregoing Michael Brosnahan believes as all previous requests and demands
for validation of this alleged debt sent to OCWEN and thus CALIBER HOME LOANS and your
agents have been ignored it is my assumption that the debt claimed in the above referenced case
in not a valid debt. If you refuse to provide the requested information it will be considered that
you acknowledge that the debt is not owed at all and all documentation obtained to date by
Michael Brosnahan, will be forwarded to the, FBI, the Attomey General of Arizona, the Federal
Trade Commission, Comptroller of the Currency, Arizona Bar Association and other entities
charged with the investigation and prosecution of financial crimes, and consumer protection
violations By law it is also now incumbent on CALIBER HOME LOANS and it agents to report
these crimes when discovered above to the proper authorities Mr.Brosnahan believes CALlBER
HOME LOANS OCWEN may have conspired with Bank of America, (FORMERLY
Countrywide) BAC Home Loans Servicing LP, Recontrust Company, Mortgage Electronic
Registration Systems lncorporated (MERS) Deutsche Bank National Trust Company as Trustee
for Bank of America, National Association, CHRISTlANA TRUST A DIVISION OF
WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity but as Trustee
of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSGCIATION, Not in its individual
capacity but as Trustee of ARLP Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN
PROGRESSIVE-ARIZONA INC, LSF 9 MASTER PARTICIPATION TRUSTin an attempt to
use the color of law of debt collection to violate the fundamental principles of equity and law by
CALlBER HOME LOANS and its agents attempting to unlawfully garner all three (3) aspects of
the transaction by CALIBER HOME LOANS attempting to taking possession of the real
property, the note and the money, and leave Mr. Brosnahan “empty handed.” and violates his
civil rights.

At all relevant times, CALIBER HOME LOANS or its agents, chen Loan Servicing, LLC
("chen") Bank of America, (Formerly Countrywide) now Deutsche Bank National Trust

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Company, As Trustee for Bank of America, National Association, CHRISTlANA TRUST A
DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, Not in its individual capacity
but as Trustee of ARLP Trust 4 WILMINGTON TRUST, NATIONAL ASSOCIATION, Not in
its individual capacity but as Trustee of ARLP Securitization Trust, Series 2014-2
(“Noteholder”)WESTERN PROGRESSIVE-ARIZ()NA INC, LSF9 MASTER
PARTICIPATION TRUST committed the acts, caused or directed others to commit the acts, or
permitted others to commit the acts alleged in this matter.

Any allegations about the acts of the Corporations means that those acts were committed
through their officers, directors, employees, agents, and/or representatives while those
individuals were acting within the actual or implied scope of their authority.

It is imperative that CALIBER HOME LOANS forward this notice to all interested parties,
as the "Real Party 0fInterest" has never truly been identified to Mr. Brosnahan.

Notice: All communications or omissions will be considered intentional on your part and
made a part of and incorporated into any litigation arising from this matter.

More importantly CALIBER HOME LOANS and its agents are attempting to unlawfully steal
real property from its True Owner by committing the felonious act of filing false and/or forged
documents in a public office to fraudulently establish legal ownership that does not exist.

CALIBER HOME LOANS and its agents must accept the full "Moral Hazard" of their
continued willful ignorance and their actions that continue to purposefully obfuscating facts and
laws. CALIBER HOME LOANS and its agents can no longer claim "plausible deniability".
CALIBER HOME LOANS and its agents cannot expect to legally collect on an alleged
Loan/Debt it allegedly claims originated on May 25, 2006 and simultaneously turns a
blind eye as to the fraudulent nature of the origination, accounting irregularities,
statutory violations and false and forged documents that it is maliciously using in an
attempt to steal real property.

Because of the willful concealment and intentional deceptive nature of CALIBER HOME
LOANS, or its agents OCWEN,WESTERN PROGRESSIVE-ARIZONA INC, business practice,
Mr. Brosnahan unwittingly became entrapped in part of a scheme to issue unregistered mortgage
backed securities and the largest banking crisis in history that has resulted in the near collapse of
the United States Economy. The scheme is a shell game of deception and deceit regarding the
value and ownership of Note and Deed of Trust on their primary residence and the rights and
responsibilities arising there under. CALIBER HOME LOANS, WESTERN PROGRESSIVE-
ARIZONA INC, OCWEN or its agents is seeking to illegally seize possession of Mr.
Brosnahan’s horne and to obtain a windfall by concealing the true parties to the fraud from an
alleged loan, not by these intermediary conduits, because of countervailing fmancial interests of
the "PSA" (Pooling and Servicing Agreement).

If you CALIBER HOME LOANS or its agents are responsible for the servicing this loan that
chen Loan Servicing, LLC ("chen") Bank of America, (Formerly Countrywide) now
Deutsche Bank National Trust Company, As Trustee for Bank of America, National Association,
CHRISTlANA TRUST A DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB,
Not in its individual capacity but as Trustee of ARLP Trust 4 WILMINGTON TRUST,
NATIONAL ASSOCIATION, Not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2 (“Noteholder”)WESTERN PROGRESSIVE-ARIZONA INC,
LSF 9 MASTER PARTICIPATION TRUST and its agents do not provide me 100% of the
information and documentation requested within twenty (20) days, l will consider the purported

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Additional Request For Validation OF Debt

debt to be invalid, that you made a mistake, and that you agree that you and your organization are
knowingly continuing a frivolous claim against Michael Brosnahan in violation of the law.

Notice: This document is not intended to threaten, harass, hinder or obstruct any lawful
operations. It is for the purposes of obtaining lawful remedy as is provided by law.
Notice to agent is notice to principal and notice to principal is notice to agent.

Thank you in advance for your prompt attention in responding and resolving this matter in a
timely manner as required by law.

Sincerely and signed without prejudice,

BY: 51 g',r,r';;* / /\{, Ang
,Michael J Brosnahan,`i'i<ue "Owiiefr
Signed reserving all my rights at UCC 1-308

   

 

Copy to:

Att: Arizona Attorney General Mark Bmovich
Civil Litigation Division

Consumer Protection And Advocacy Office Section
Re: CIC 15-12425 OCWEN

Tucson Office

400 West Congress

South Building, Suite 315

Tucson, AZ 8570]-1367

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